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                                                 #:804


 1     Arjun Vasan
 2     12615 193rd Street
 3     Cerritos, CA 90703
 4     (562) 900-6541
 5     arjun.vasan@gmail.com
 6     Plaintiff In Pro Per
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 8
                                     UNITED STATES DISTRICT COURT
 9
                                   CENTRAL DISTRICT OF CALIFORNIA
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12                                                        Case No.: 2:25-CV-00765-MEMF-JPR
       ARJUN VASAN,
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                                     Plaintiff,
14                                                        NOTICE OF INTENT TO SUBMIT
                      v.
                                                          WITNESSS DECLARATIONS AND
15
                                                          DEFENDANT’S REPRESENTATIONS
16     CHECKMATE.COM, INC                                 CONCERNING RETALIATION RISK
17     (dba “Checkmate”),
18                                   Defendant.
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       TO THE HONORABLE COURT:
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23            Plaintiff Arjun Vasan respectfully submits this Notice to inform the Court that he intends to
24     submit declarations from two third-party witnesses: Christopher Lam and Robert Nessler, both
25     former members of the VoiceBite founding team and current employees of Defendant.
26            In opposing Plaintiff’s now withdrawn, and inadvertently filed ex parte application for a
27     protective order, Defendant represented to this Court that:
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 1               “Plaintiff’s concern that the two individuals may somehow be retaliated against is entirely
 2               speculative … There is no evidence that Mr. Lam and Mr. Nessler are even concerned about
 3               intimidation or retaliation.” - (ECF No. 35, at p. 3, ll. 7–9).
 4               Plaintiff respectfully places these representations on the record and states that, in light of
 5     Defendant’s unequivocal position, he will proceed with obtaining and submitting declarations from
 6     Mr. Lam and Mr. Nessler. Plaintiff will rely on these statements as binding. Should either witness
 7     experience retaliation, Plaintiff reserves the right to seek immediate relief, including sanctions and
 8     leave to add them as fellow plaintiffs.
 9               Additionally, Plaintiff notes that Defendant has later filed a separate lawsuit in the Supreme
10     Court of New York1 against Plaintiff individually (see Defendant’s “Notice of Pendency,” ECF No.
11     37), while simultaneously asserting a theory of collective forfeiture of more than $1.5 million in
12     compensation owed to the VoiceBite founding team (see Plaintiff’s “Request for Judicial Notice,” ¶
13     2, ECF No. 27)—including these witnesses. This is the same $1.5 million Defendant now uses to
14     characterize this matter as an “arms-length commercial transaction” rather than an employment
15     dispute, in an effort to evade California’s worker protections. It has never been paid.
16               By suing Plaintiff individually in order to impose financial consequences on the entire
17     founding team, Defendant has procedurally fragmented the defense and stripped these witnesses of
18     the opportunity to respond collectively. The result is that they are not only prevented from helping
19     their teammate—they are placed in an untenable position: the very testimony that is crucial to
20     securing their earned and unpaid bonuses directly threatens the employer who signs their paychecks.
21               In effect, they are held hostage to their own employment—trapped between genuine self-
22     interest and immediate self-preservation.
23               With this combination of individualized litigation, collective forfeiture and employment
24     leverage, Defendant advances a novel and dangerous legal theory—undermining the credibility of its
25     assertion that retaliation fears are “entirely speculative.”
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           Plaintiff has since removed this action to federal district in the Southern District of New York


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 1            Plaintiff submits this Notice so the Court is fully informed of the context surrounding any
 2     forthcoming declarations and may evaluate them with appropriate awareness.
 3            Defendant is now on notice—not only that this Court is aware of the stakes at hand, but that
 4     the public and press may also evaluate whether these witnesses are treated fairly.
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 6            Any adverse action taken in this climate should be viewed accordingly.
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 8            Furthermore, Plaintiff notes that Defendant—represented by six attorneys from a national
 9     firm across two distant jurisdictions—has sought sanctions for the time spent responding to an
10     inadvertent but good-faith filing by a first-time pro se litigant now forced to litigate in multiple
11     jurisdictions, simply to recover compensation wrongfully withheld by Defendant. That Defendant
12     seeks to transfer its legal expenses onto the party it deprived of income should not escape the Court’s
13     attention. Nor should it escape the notice of any public observers of this record.
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17                                                                    Respectfully Submitted,
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19     Dated: Friday, April 21, 2025
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21                                                                    Arjun Vasan
22                                                                    _________________________________
23                                                                    Arjun Vasan
24                                                                    Plaintiff In Pro Per
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